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13
14                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16
17   AMERICAN FEDERATION OF
     GOVERNMENT EMPLOYEES, et al.
18
               Plaintiffs,                                      Case No. 3:25-cv-03698-SI
19
                       v.
20                                                DEFENDANTS’ MOTION FOR A
     DONALD J. TRUMP, in his official capacity as PROTECTIVE ORDER OR IN THE
21                                                ALTERNATIVE FOR
     President of the United States, et al.,
22                                                RECONSIDERATION AND REQUEST
              Defendants.                         FOR AN IMMEDIATE
23                                                ADMINISTRATIVE STAY;
                                                  MEMORANDUM OF POINTS AND
24
                                                  AUTHORITIES
25
26
27           Defendants respectfully move, pursuant to Federal Rules of Civil Procedure 26(c)(1) and

28   59(e), for either a protective order relating to or reconsideration of the Court’s order that Agency


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 1   RIF and Reorganization Plans (ARRPs) submitted to the Office of Management and Budget
 2   (OMB) and Office of Personnel Management (OPM) be disclosed by Tuesday, May 13 at 4:00
 3   p.m. Pacific Time (Disclosure Order). Defendants respectfully request that the Court rescind the
 4   requirement that Defendants produce these documents, either by issuing a protective order or
 5   reconsidering the Disclosure Order. At the very least (and although Defendants would still seek
 6   relief from the Court of Appeals from any such modified order), Defendants respectfully ask the
 7   Court to enter a protective order restricting any produced ARRPs to Plaintiffs’ counsel and
 8   prohibiting Plaintiffs’ counsel from further disclosing the ARRPs (including to their clients).
 9   Further, Defendants also request an immediate administrative stay of the Disclosure Order while
10   the Court considers this motion and, if the Court denies this motion, a seven-day administrative
11   stay to allow for orderly briefing in the Court of Appeals. Given the imminence of the deadline,
12   Defendants also intend to seek mandamus relief from the Disclosure Order in the Ninth Circuit
13   tomorrow morning, as well as an immediate administrative stay from that Court. Defendants do
14   not through this motion seek a stay of the Court’s order granting a temporary restraining order
15   (TRO). 1 Defendants are seeking a stay of that order from the Ninth Circuit. But this Court already
16   denied a motion to stay its injunctive order, and Defendants have appealed that order.2
17           Defendants emailed counsel for Plaintiffs at 1:26 pm Pacific Time today to obtain their
18   position on this motion but, as of the filing of this motion, Defendants have not received a response.
19   Due to the urgency of this motion, Defendants are filing this motion now. 3
20
     1 To be clear, Defendants do not accept that this order is properly characterized as a TRO, see
21   Sampson v. Murray, 415 U.S. 61, 86-87 (1974), but for ease of reference, Defendants will refer to
     it as a TRO here..
22
     2 The Court has jurisdiction to enter the relief requested. The Court issued two orders in one
23   document (the TRO and the Disclosure Order), and Defendants are appealing only the former. And
24   even if the Disclosure Order were before the Court of Appeals, at most, this Court would be
     divested of jurisdiction to quash that Order; it would not be divested of the authority to impose a
25   protective order, in the same way a district court can still grant a full or partial stay of a preliminary
     injunction that has been appealed.
26
     3 Defendants acknowledge that this Court’s Local Rules provide that party must obtain leave of

27   Court prior to filing a reconsideration motion. Defendants are filing this motion now given the
     exigent circumstances and to give the Court a reasonable opportunity to rule on the motion before
28
     the Tuesday deadline.

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 1                                                   ARGUMENT
 2            Upon a party’s showing of “good cause,” courts may issue protective orders to “protect a
 3   party or person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed.
 4   R. Civ. P. 26(c)(1). A district court has “broad discretion” to decide “when a protective order is
 5   appropriate and what degree of protection is required,” Seattle Times Co. v. Rhinehart, 467 U.S.
 6   20, 36 (1984). A court may also grant a motion for reconsideration “(1) if such motion is necessary
 7   to correct manifest errors of law or fact upon which the judgment rests; (2) if such motion is
 8   necessary to present newly discovered or previously unavailable evidence; (3) if such motion is
 9   necessary to prevent manifest injustice; or (4) if the amendment is justified by an intervening
10   change in controlling law.” Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). “A
11   court considering a Rule 59(e) motion is not limited merely to these four situations.” Id.
12            The Court should either grant Defendants a protective order from the obligation to disclose
13   the ARRPs or reconsider the Disclosure Order because the ARRPs are privileged pre-decisional
14   and deliberative agency planning documents. They also contain significant, highly sensitive
15   information the disclosure of which will irreparably harm OPM, OMB, and the Defendant
16   Agencies, harm that cannot be undone once the documents are disclosed. Defendants submit that
17   the Court’s grant of this extraordinary relief was both substantively and procedurally erroneous.
18   And although the Court need not consider this separate question to grant the relief requested, the
19   ARRPs are also simply irrelevant to future proceedings in this Court, and at the very least no one
20   will be irreparably harmed by granting relief from disclosure (let alone by a brief administrative
21   stay).
22            I.      The ARRPs are Privileged
23            “Federal law recognizes a privilege for pre-decisional, non-factual, non-public
24   communications occurring within federal agencies.” United States v. Irvin, 127 F.R.D. 169, 172
25   (C.D. Cal.1989). This deliberative process privilege protects confidential exchanges of opinions
26   and advice within the executive branch of government. Mansourian v. Bd. of Regents of Univ. of
27   Cal. at Davis, No. CIVS 03-2591 FCD EFB, 2007 WL 4557104, at *4 (E.D. Cal. Dec. 21, 2007).
28   Its purpose “is to prevent injury to the quality of agency decisions by ensuring that the frank


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 1   discussion of legal or policy matters in writing, within the agency, is not inhibited by public
 2   disclosure.” Maricopa Audubon Soc’y v. U.S. Forest Service, 108 F.3d 1089, 1092 (9th Cir. 1997)
 3   (quoting NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 148 (1975)) (internal quotations omitted).
 4   “The deliberative process privilege is designed to allow agencies to freely explore possibilities,
 5   engage in internal debates, or play devil’s advocate without fear of public scrutiny.” Thomas v.
 6   Cate, 715 F. Supp. 2d 1012, 1019 (E.D. Cal. 2010). “To fall within the deliberative process
 7   privilege, a document must be both ‘predecisional’ and ‘deliberative.’” Carter v. U.S. Department
 8   of Commerce, 307 F.3d 1084, 1089 (9th Cir. 2002). The ARRPs satisfy both requirements.4
 9           The ARRPs are predecisional. “A predecisional document is one prepared in order to assist
10   an agency decisionmaker in arriving at his decision.” Assembly of State of Cal. v. U.S. Dep’t of
11   Com., 968 F.2d 916, 920 (9th Cir. 1992) (quotation marks omitted). That is satisfied here. For one,
12   as explained in the attached declaration, ARRPs are “subject to change at any moment as the
13   agency’s needs, missions, and staffing evolve or as new leadership joins an agency.” Declaration
14   of Stephen M. Billy ¶ 5 (Decl.). An ARRP is never final and may change drastically as the agency’s
15   priorities and thinking changes. Id. ¶ 6. “Indeed, the non-final and frequently changing nature of
16   ARRPs is one of the reasons OMB and OPM requested that the agencies submit monthly progress
17   reports in May, June, and July.” Id. Nothing in an ARRP irrevocably commits an agency to taking
18   any specific step. Id. ¶ 5. But in addition, the ARRPs have many recommendations distinct from
19   specific RIFs. Id. ¶ 3; see also TRO Opposition at 15-16 (summarizing information to be included
20   in Phase 1 and Phase 2 ARRPs). They typically include plans for changes that would take place
21   many years in the future, if at all. Decl. ¶ 3.
22
     4 The privilege is qualified and may be overcome if a litigant’s “need for the materials and the
23
     need for accurate fact-finding override the government’s interest in non-disclosure.” FTC v.
24   Warner Communc’ns, Inc., 742 F.2d 1156, 1161 (9th Cir. 1984) (per curiam). In assessing a claim
     under the privilege, a court must consider “1) the relevance of the evidence; 2) the availability of
25   other evidence; 3) the government’s role in the litigation; and 4) the extent to which disclosure
26   would hinder frank and independent discussion regarding contemplated policies and decisions.”
     Id. The Court conducted no such analysis here before ordering disclosure. And Defendants would
27   prevail in any such analysis since the ARRPs contain significant highly sensitive information,
     while, on the other hand, they bear no relevance to this action globally challenging implementation
28
     of the Executive Order and Workforce Memorandum.

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 1           They are also deliberative. “A predecisional document is a part of the deliberative process,
 2   if the disclosure of the materials would expose an agency’s decisionmaking process in such a way
 3   as to discourage candid discussion within the agency and thereby undermine the agency’s ability
 4   to perform its functions.” Carter, 307 F.3d at 1089. The foregoing discussion demonstrates why
 5   that requirement is clearly satisfied here. As the Workforce Memorandum and Declaration both
 6   make clear, Phase 1 and Phase 2 ARRPs contain a significant amount of information concerning
 7   the agencies’ future plans and strategies, not all of which will actually be acted upon, at least not
 8   right away. And as discussed further in the next section, that information is highly sensitive,
 9   concerning plans and strategies in a number of core areas. See infra p. 6.
10            The Court’s opinion appears to reflect fundamental misconceptions about ARRPs. First,
11   the Court suggested that ARRPs are set in stone following a single discrete event (their “approval”
12   by OPM/OMB). See TRO Opinion at 35. As explained above, that is incorrect. See supra p. 4; see
13   also Decl. ¶ 5 (“Nothing in an ARRP, or its review or approval by OPM or OMB, binds the agency
14   to any particular course of action.”). As a formal matter, ARRPs are always subject to change
15   based on, among other things, intervening events and changes in the agency’s thinking. The
16   Court’s opinion, relatedly, appears to rest on a mistaken understanding that the only content in
17   ARRPs concerns upcoming RIFs and other related subjects directly tied to the TRO decision,
18   essentially analogizing the ARRPs to an administrative record for imminent RIFs. See TRO
19   Opinion at 35 (“While the ultimate impacts of the RIFs may yet be unknown (in part due to
20   defendants’ refusal to publicize the ARRPs)…”). Again, as discussed above, that is mistaken. The
21   ARRPs are extensive long- and intermediate-term agency planning documents containing the
22   agencies’ detailed analysis, plans, and strategies on a range of regulatory, legislative, and
23   organizational subjects. See supra p. 4; infra p. 6.
24           II.      Disclosure of the ARRPs would Irreparably Harm the Government
25           Publication of confidential documents is irreversible. “[O]nce a secret is revealed, there is
26   nothing for [a court order] to protect.” Ace Am. Ins. Co. v. Wachovia Ins. Agency Inc., 306 F. App’x
27   727, 732 (3d Cir. 2009). A party erroneously required to disclose privileged materials or
28   communications” is likely to suffer irreparable harm. See Admiral Ins. Co. v. U.S. Dist. Ct., 881


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 1   F.2d 1486, 1491 (9th Cir. 1989) (collecting cases). “[A]n order that information be produced that
 2   brushes aside a litigant’s claim of a privilege not to disclose, leaves only an appeal after judgment
 3   as a remedy. Such a remedy is inadequate at best. Compliance with the order destroys the right
 4   sought to be protected.” In re von Bulow, 828 F.2d 94, 98 (2d Cir. 1987). If Defendants are required
 5   to disclose the ARRPs on Tuesday, there can be no putting that toothpaste back in the tube. That
 6   is quintessential irreparable harm.
 7           The irreparable harm to the government would be particularly severe here given the
 8   contents of the ARRPs, which “include highly sensitive information that would seriously
 9   undermine agency operations if they were released.” Decl. ¶ 4. This “information includes
10   strategies for agency negotiations with unions; plans and strategies for personnel reorganization
11   that may or may not materialize, but might seriously hurt agency recruitment and retention if
12   released; plans and strategies regarding present and future regulatory changes; plans and strategies
13   for present and future appropriations requests; plans and strategies for congressional engagement;
14   and plans and strategies for agency IT management.” Id.
        III.    The Disclosure Order is Substantively and Procedural Flawed and Highly Unfair
15
                to the Government
16           The Court should not require the Government to hand over this massive trove of
17   information and suffer this grave and irreparable harm in this highly expedited context. Based on
18   its opinion, however, the Court may be of the view that the Government did not adequately oppose
19   Plaintiffs’ supposed discovery request. See TRO Opinion at 35 (“Nor do any defendants claim that
20   the ARRPs, once approved, may be modified or rescinded.”). Respectfully, that is not the case,
21   and there is no basis for the Court’s grant of this extraordinary relief.
22           Initially, the Court did not even have before it a proper motion for discovery. The caption
23   to Plaintiffs’ motion did not indicate that Plaintiffs were seeking discovery. Compare TRO Motion
24   (“Motion for Temporary Restraining Order and Order to Show Cause”), with TRO Decision
25   (“Order Granting Temporary Restraining Order and Compelling Certain Discovery Production.”).
26   Plaintiffs also did not follow any of the local rule requirements for resolving discovery and
27   disclosure disputes. See Local Rule 37-1. When counsel for Plaintiffs emailed counsel for
28   Defendants to obtain a position on their emergency motion and proposed schedule, they did not

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 1   indicate that the motion would seek discovery. 5 Nor did Plaintiffs attempt to serve Defendants
 2   with discovery requests, and Defendants never had a chance to make formal objections to any such
 3   request.
 4           Putting those procedural defects aside, Plaintiffs provided no meaningful legal basis for
 5   these materials to be released. Indeed, the entire basis for Plaintiffs’ demand that the ARRPs be
 6   produced in their TRO Brief was a postcard conclusory statement at the bottom of page 50 of their
 7   51-page brief, in which they made no attempt to establish that the ARRPs were non-privileged and
 8   otherwise subject to disclosure. In that context—a TRO briefing posture, where the government
 9   had only three business days to respond to Plaintiffs’ 51-page brief backed by nearly 1,400 pages
10   of exhibits—Defendants were not required to treat this conclusory and procedurally improper
11   request as effectively requiring the type of response they would have provided in formal discovery
12   objections and responses. Rather, Defendants quite appropriately pointed out that Plaintiffs had
13   provided no legal basis for this request. TRO Opposition at 48.
14           Notwithstanding all of this, the government explained that “the ARRPs are deliberative
15   agency planning documents that discuss a number of steps the agency plans to take t[o] … improve
16   the agency’s efficiency, as well as to focus on statutorily required functions activities that directly
17   serve the public.” ECF No. 60 at 21. Such documents, “which reflect the agency’s group thinking
18   in the process of working out its policy,” are definitionally deliberative materials shielded from
19   disclosure. See NLRB. v. Sears, Roebuck & Co., 421 U.S. 132, 153 (1975). And the Workforce
20   Memorandum itself and the Government’s extensive discussion of it made clear that ARRPs
21   contain significant information about the agency’s long term strategies and recommendations. See
22   supra p. 4; TRO Opposition at 15-16. But without addressing those concerns or purporting to
23   engage in balancing analysis, this Court concluded that Plaintiffs had shown “good cause” under
24
     5 The substantive text of that email is as follows: “We are writing to inform you that Plaintiffs in
25   the above-referenced case will tomorrow be filing a motion for temporary restraining order and to
26   show cause why a preliminary injunction should not issue. We intend to ask the Court to set a
     deadline for the government’s response of Monday, and will ask for a hearing as soon as possible
27   next week. Please let me know whether Defendants will consent to this schedule on the TRO. We
     will be asking the Court for additional pages on the memorandum in support of the TRO motion,
28
     of up to 50 pages. Please let us know if Defendants will consent.”

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 1   Federal Rule of Civil Procedure 26(d), and then ordered the government to produce the Plans and
 2   other documents by 4:00 p.m. PDT on Tuesday, May 13.
 3             That analysis is plainly inadequate to dispense with the privilege. In Karnoski v. Trump,
 4   the Ninth Circuit issued a writ of mandamus vacating discovery orders because the district court
 5   did not perform a sufficiently “granular” balancing analysis before holding that the plaintiffs in
 6   that case had overcome the deliberative process privilege. 926 F.3d 1180, 1206 (9th Cir. 2019)
 7   (per curiam) (“The district court appears to have conducted a single deliberative process privilege
 8   analysis covering all withheld documents, rather than considering whether the analysis should
 9   apply differently to certain categories.”); see also id. at 1195 (order covered 15,000 documents).
10   Here, the problem is not that the Court’s analysis was too vague, but that it conducted no analysis
11   at all.
12             Indeed, the scope of the disclosure the Court ordered exceeds even what Plaintiffs sought
13   in their motion. See ECF No. 37-3 (requesting only “current versions” of the Plans). Plaintiffs first
14   asked for “waivers” of the 60-day RIF notice period at the end of the live hearing, and they never
15   asked for “agency applications for waivers” at all. Tr. at 43.
16             IV.    The ARRPs Are Not Relevant to Future Proceedings before this Court
17             Given the foregoing, the Court should grant a protective order or reconsider the Disclosure
18   Order. To grant either form of relief, the Court need not decide whether disclosure of the ARRPs
19   could be required or should be required in the future. The Court could simply order briefing on
20   whether the ARRPs should be withheld and the applicability of privileges.
21             In any event, Defendants respectfully submit that the ARRPs are not relevant to the
22   preliminary injunction proceedings this Court intends to conduct in the coming weeks—and
23   certainly no party would be irreparably harmed by the relief the Government seeks here. The Court
24   enjoined all implementation of the Workforce Executive Order and Workforce Memorandum, as
25   to all the 21 components against which Plaintiffs sought a TRO. TRO Decision at 40. And the
26   Court clearly held that both the Workforce Executive Order and the Workforce Memorandum were
27   ultra vires. TRO Opinion at 26-34. It is unclear how the contents of the ARRPs could affect the
28


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 1   conclusions the Court reached in issuing the TRO—since the Court held that the Workforce
 2   Executive Order and Workforce Memorandum cannot be lawfully implemented.
 3           The Court also stated that “the release of the ARRPs will significantly aid the Court’s
 4   review of the merits of” the claims that individual ARRPs are arbitrary and capricious. TRO
 5   Opinion at 37. But Plaintiffs’ arbitrary-and-capricious claims were directly tied to the Workforce
 6   Executive Order and Workforce Memorandum. Plaintiffs did not make freestanding claims that
 7   particular ARRPs violated the APA for reasons independent of these sources—for example, that
 8   particular elements of the ARRPs flunked the arbitrary-and-capricious standard. And any such
 9   fact-bound claim directed at individual ARRPs would of course not provide any basis for enjoining
10   implementation of the Executive Order and Memorandum, let alone enjoining its implementation
11   virtually government-wide. In short, no matter how detailed or well-supported the ARRPs may be,
12   the Court’s opinion indicates that the Court believes they are tainted by an unlawful Executive
13   Order and Memorandum. True, the Court framed all of its merits conclusions in terms of
14   “likelihood of success” and Defendants obviously hope that the Court reconsiders these legal
15   conclusions (which Defendants respectfully submit are mistaken) at a later stage of the case. But
16   if the Court adheres to its legal conclusion that the Executive Order and Memorandum are
17   themselves unlawful, an analysis of specific ARRPs would not appear to in any way change those
18   conclusions.
19           Even if this Court had conducted a balancing analysis, the deliberative privilege would not
20   be overcome. Plaintiffs allege that the President has called for “large scale” changes to agencies
21   and that the separation of powers forbids him from so reforming federal agencies absent express
22   statutory authorization. Plaintiffs’ claim thus does not turn on the specific Plans agencies have
23   prepared. Indeed, Plaintiffs do not challenge any Plan at all. Rather, they challenge the President’s
24   authority to ask agencies to prepare Plans and OPM and OMB’s ability to offer guidance on what
25   those documents should contain. Because the content of the ARRPS is legally irrelevant to the
26   claims as pled, Plaintiffs are not entitled to these ARRPs, and the Court erred in concluding
27   otherwise.
28


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             V.       At a minimum, the Court Should Grant a Protective Order Restricting
 1                    Disclosure of the ARRPs to the Court and Plaintiffs’ Counsel
 2           At the very least, Defendants ask that its disclosure obligation be restricted to only
 3   Plaintiffs’ counsel; this smaller disclosure would obviate some of the most significant harms to
 4   Defendants of having their deliberative work-product made public. The Court should accordingly
 5   direct any ARRPs to be filed under seal and should enter a protective order directing that Plaintiffs’
 6   counsel may not disclose the ARRPs to anyone else (including their clients). Such limited relief
 7   would not eliminate the chilling effect created by disclosures of deliberative materials, nor would
 8   it justify disregarding the government’s interest in maintaining the documents’ confidentiality. Cf.
 9   Perry v. Schwarzenegger, 591 F.3d 1147, 1163-64 (9th Cir. 2009) (granting defendants’
10   mandamus petition and overruling a district court’s order compelling the defendants to produce
11   documents whose disclosure threatened to “inhibi[t] internal campaign communications that are
12   essential to effective association and expression,” while emphasizing that “[a] protective order
13   limiting dissemination of this information will ameliorate but cannot eliminate these threatened
14   harms”). And it would not cure the procedural and substantive flaws associated with the Court’s
15   Disclosure Order discussed in detail above. But it would temper some of the effects of the
16   disclosure that are most likely to hinder agency operations.
17
             VI.      The Court Should Grant an Immediate Administrative Stay
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             Given the pending Tuesday, May 13 deadline, and the grave and irreversible injury to the
19
     government associated with the disclosure of the ARRPs, Defendants respectfully request that the
20
     Court rule on this motion as soon as possible and to grant an immediate administrative stay of the
21
     Disclosure Order. Given the imminence of the deadline, Defendants also intend to seek mandamus
22
     relief from the Disclosure Order in the Ninth Circuit tomorrow morning, as well as an immediate
23
     administrative stay from that Court. Defendants will promptly inform this Court of any relevant
24
     developments in the Ninth Circuit.
25
                                                    CONCLUSION
26
             For the foregoing reasons, the Court should relieve Defendants of the obligation to produce
27
     the ARRPs, and grant an immediate administrative stay while it considers this motion.
28


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     Dated: May 11, 2025                                 Respectfully submitted,
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